        Case 4:97-cr-40069-JPG                      Document 230             Filed 02/14/06             Page 1 of 4            Page ID #26

% A 0 245D     (Rev. 12/03) Judgment in a CriminaJ Case for Revocations




                        SOUTHERN                                     District of                                   ILLINOIS

         UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                               v.                                           (For Revocation of Probation or Supervised Release)
                JOHNNY RAY BIERMAN
                                                                            Case Number:
                                                                            USM Number: 04167-025
                                                                             Judith A. Kuenneke, FPD
                                                                            Defendant's Attorney
THE DEFENDANT:
     admitted guilt to violation of condition@) as alleged in petition                        of the term of supervision.

     was found in violation of condition(s)                                               after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                    Nature of Violation                                                              Violation Ended
 Statutory                           Defendant tested position for Methamphetamne                                     1211412005


 Standard                            Defendant failed to make payments toward his fine                                813012005


       The defendant is sentenced as provided in pages 2 through                   4      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
     The defendant has not violated condition@)                                        and is discharged as to such violation(s) condition


                                                          7
          It is ordered that the defendant must noti the United States attorney for this district within 30 days of any
change of name, residence, or mailhg address untl all fmes, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restltutlon, the defendant must ootlfy the court and Un~tedStates attorney of mater~alchanges m
economlc circumstances.

Defendant's Sac. Sec No.:      XXX-XX-XXXX                                   2/9/2006
                                                                            Date of Imposition of Judgment
Defendant's Date of Birth:     912811961


Defendant's Residence Address:

2032 Steel Street, Murphysboro, lL62966
                                                                             J . Phil Gilbert                                 District Judge
                                                                            NameofJudge                                     Title of Judge


                                                                                                                         ZNc'
                                                                            Date
Defendant's Mailing Address:

S a m e as above
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A 0 245D   (Rev. 12/03) Judgment in a Criminal Case for Revocations
           Sheet 1A


DEFENDANT: JOHNNY RAY BIERMAN
                                                                                         Jud-t-Page   2of
CASE NUMBER: 4:97CR40069-003

                                                  ADDITIONAL VIOLATIONS
                                                                                                          Violation
Violation Number               Nature of Violation                                                        Concluded
Standard # 5                    The defendant has obtained employment
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  A 0 245D      (Rev. I203 Judgment in a Criminal Case for Revocations
                Sheet 2- lmprisonmcnt

                                                                                                        Judgment- Page        of   4
  DEFENDANT: JOHNNY RAY BIERMAN
  CASE NUMBER: 4:97CR40069-003


                                                                 IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
  total term o f :
24 months




       @f The court makes the following recommendations to the Bureau of Prisons:
That the defendant participate in the Intensive Drug Treatment Program



       @ The defendant is remanded to the custody of the United States Marshal,
             The defendant shall surrender to the United States Marshal for this district:
                  at                                      a.m.      17 p.m.    on
             17 as notified by the United States Marshal.
             The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                  before 2 p.m. on
                  as notified by the United States Marshal.
                  as notified by the Probation or Pretrial Services Office.

                                                                         RETURN
  I have executed this judgment as follows:




          Defendant delivered on                                                           to

  at                                                     with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                              BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
           Case 4:97-cr-40069-JPG                    Document 230          Filed 02/14/06          Page 4 of 4           Page ID #29

A 0 245D     (Rev. 12/03)Judgment in acrirninal Case for Revocations
             Skeet 3 -Supervised Release
P-
 4                                                                                                       Judgment-Page             of
DEFENDANT: JOHNNY RAY BIERMAN
CASE NCTNIBER: 4:97CR40069-003
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a tern1 of:
12 months


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release fro
the custody ofthe Bureau of Pnsons.
The defendanl: shall not commit another federal, state or local crime.
The defendanl: shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall su%mit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determ~nedby the court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
B( The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
       The defcndant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a shldent, as directed by the probation officer. (Check, if applicable.)
       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If thir: 'udgment imposes a fpe or restitution, it is be a condition of supervised release that the defendant pay in accordance with
the Schedule ofJ~aymentssheet of t h ~judgment.
                                       s
          The defendant must comply with the standard conditionsthat have heenadopted by this court as well as with any additional conditi
on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
        the defendant shall not leave the judicial district without the permission of the court or probation officer;
        the defendant shall report to the probation officer and shall submit a truthful and complete written report withim the first five days o
        each month;
        the defendant shall answer hvthfully all inquiries by the probation officer and follow the instructions of the probation officer;
        the defendant shall support his or her dependents and meet other family responsibilities;
        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or othe
        acceptable reasons;
        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or a w j i s t e r any
        contro1la:d substance or any paraphernal~arelated to any controlled substances, except as prescr~bedby a phys~clan;
        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
        the defeindant shall not associate.with any persons engaged in criminal activity and shall not associate with any person convicted o
        a felony, unless granted permiss~onto do so by the probation officer;
 10)    the defendant shall p p i t aprobat~on.officerto \,is11him or her at any timc at home or elsewhere and shall prmit confiscation ofan
        contraband ohsewed in pla~nvlew ot rhc probat~onoti~cer:
 11)    the defendant shallnotify the probation officerwithim seventy-two hours ofbeing arrested or questioned by a law enforcement office
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without th
        permission of the court; and
 13)    as directed by the rohation officer, the defendant shall nutitj !bird panies ofrisks thdt may be occasioned b) the defendant's crimin
        record or oenonay historv or character~sticsand shall ptrmlt the probation officer to make such notification3 and to contirm th
        defendant's compliance with such notification requirenient.
